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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MERCIS B.V.,

          Plaintiff,                                             Case No.: 1:20-cv-04293

 v.                                                              Judge Rebecca R. Pallmeyer

 THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Susan E. Cox
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                           PRELIMINARY INJUNCTION ORDER

         THIS CAUSE being before the Court on Plaintiff, MERCIS B.V’s (“MERCIS” or

“Plaintiff”), Motion for a Preliminary Injunction, and this Court having heard the evidence before

it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against

the defendants identified in Schedule A (collectively, the “Defendants”).

         THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their business activities toward consumers in the United States,

including Illinois. “In the context of cases like this one, that means a plaintiff must show that each

defendant is actually operating an interactive website that is accessible in Illinois and that each

defendant has aimed such site at Illinois by standing ready, willing and able to ship its counterfeit

goods to customers in Illinois in particular (or otherwise has some sufficient voluntary contacts

with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified

on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this case, Plaintiff has presented

screenshot evidence that each Defendant Internet Store is reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can and do purchase products using counterfeit versions of Plaintiff’s Trademarks and


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copyright. See Docket Nos. 11 and 12 which include screenshot evidence confirming that each

Defendant Internet Store does stand ready, willing and able to ship its counterfeit goods to

customers in Illinois bearing infringing and/or counterfeit versions of the MIFFY trademarks, U.S.

Trademark Registration Nos. 2,210,029; 2,393,442; 2,482,597; 4,248,049; 5,516,174; 5,652,014;

5,663,554 and 5,663,610 (collectively, the “MIFFY Trademarks”) and/or products infringing the

MIFFY Work, Copyright Registration No. VA 1-054-563 (collectively, the “MIFFY Work”).

       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of MERCIS’s

previously granted Motion for a Temporary Restraining Order establishes that MERCIS has a

likelihood of success on the merits; that no remedy at law exists; and that MERCIS will suffer

irreparable harm if the injunction is not granted.

       Specifically, MERCIS has proved a prima facie case of trademark infringement because

(1) the MIFFY Trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register and the MIFFY Work is registered with the United

States Copyright Office, (2) Defendants are not licensed or authorized to use the MIFFY

Trademarks and MIFFY Work, and (3) Defendants’ use of the MIFFY Trademarks and MIFFY

Work are causing a likelihood of confusion as to the origin or sponsorship of Defendants’ products

with MERCIS. Furthermore, Defendants’ continued and unauthorized use of the MIFFY

Trademarks and MIFFY Work irreparably harms MERCIS through diminished goodwill and

brand confidence, damage to MERCIS’s reputation, loss of exclusivity, and loss of future sales.

Monetary damages fail to address such damage and, therefore, MERCIS has an inadequate


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remedy at law. Moreover, the public interest is served by entry of this Preliminary Injunction to

dispel the public confusion created by Defendants’ actions. Accordingly, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

         a. using the MIFFY Trademarks and MIFFY Work or any reproductions,

             counterfeit copies or colorable imitations thereof in any manner in connection

             with the distribution, marketing, advertising, offering for sale, or sale of any

             product that is not a genuine MIFFY product or not authorized by MERCIS to

             be sold in connection with the MIFFY Trademarks and MIFFY Work;

        b.   passing off, inducing, or enabling others to sell or pass off any product as a

             genuine MIFFY product or any other product produced by MERCIS, that is

             not MERCIS’s or not produced under the authorization, control or supervision

             of MERCIS and approved by MERCIS for sale under the MIFFY Trademarks

             and MIFFY Work;

        c.   committing any acts calculated to cause consumers to believe that Defendants'

             products are those sold under the authorization, control or supervision of

             MERCIS, or are sponsored by, approved by, or otherwise connected with

             MIFFY;

        d.   further infringing the MIFFY Trademarks and MIFFY Work and damaging

             MERCIS’s goodwill;

        e.   otherwise competing unfairly with MERCIS in any manner;




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        f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or

             inventory not manufactured by or for MERCIS, nor authorized by MERCIS to

             be sold or offered for sale, and which bear any of the MIFFY Trademarks and

             MIFFY Work or any reproductions, counterfeit copies or colorable imitations

             thereof;

        g.   using, linking to, transferring, selling, exercising control over, or otherwise

             owning the Online Marketplace Accounts, or any other online marketplace

             account that is being used to sell or is the means by which Defendants could

             continue to sell Counterfeit/Infringing MIFFY products; and

        h.   operating and/or hosting at the Online Marketplace Accounts and any other

             online marketplace accounts registered or operated by Defendants that are

             involved with the distribution, marketing, advertising, offering for sale, or sale

             of any product bearing the MIFFY Trademarks and MIFFY Work or any

             reproductions, counterfeit copies or colorable imitations thereof that is not a

             genuine MIFFY product or not authorized by MERCIS to be sold in connection

             with the MIFFY Trademarks and MIFFY Work.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as, but not limited to, Amazon, and Alibaba Group Holding Ltd. along

        with any related Alibaba entities (collectively, "Marketplaces"), social media platforms,

        Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

        Yahoo, shall within three (3) business days of receipt of this Order:




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            a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                MIFFY Trademarks, including any accounts associated with the

                Defendants listed in Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the MIFFY Trademarks; and

            c. take all steps necessary to prevent links to the Defendant Online

                Marketplace Accounts identified in Schedule A from displaying in search

                results, including, but not limited to, removing links to the Online

                Marketplace Accounts from any search index.

3.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' Online Marketplace

        Accounts or other websites operated by Defendants, including, without limitation, any

        online marketplace platforms such as Marketplaces, advertisers, Facebook, Internet

        Service Providers ("ISP"), web hosts, back-end service providers, web designers,

        sponsored search engine or ad-word providers, banks, merchant account providers,

        including PayPal, Alibaba, Western Union, third party processors and other payment

        processing service providers, shippers, and online marketplace registrars (collectively, the

        "Third Party Providers") shall, within two (2) business days after receipt of such notice,

        provide to MERCIS expedited discovery, including copies of all documents and records in

        such person's or entity's possession or control relating to:




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            a. The identities and locations of Defendants, their agents, servants,

               employees, confederates, attorneys, and any persons acting in concert or

               participation with them, including all known contact information;

            b. the nature of Defendants' operations and all associated sales and financial

               information, including,    without    limitation,   identifying   information

               associated with the Online Marketplace Accounts, and Defendants' financial

               accounts, as well as providing a full accounting of Defendants' sales and

               listing history related to their respective Online Marketplace Accounts;

            c. Defendants' websites and/or any Online Marketplace Accounts;

            d. The Defendant Online Marketplace Accounts registered by Defendants; and

            e. Any financial accounts owned or controlled by Defendants, including their

               agents, servants, employees, confederates, attorneys, and any persons acting

               in concert or participation with them, including such accounts residing with

               or under the control of any banks, savings and loan associations, payment

               processors or other financial institutions, including, without limitation,

               Amazon, PayPal, Alipay, Western Union, or other merchant account

               providers, payment providers, third party processors, and credit card

               associations (e.g., MasterCard and VISA).

4.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

5.      eBay, Inc. (“eBay”), PayPal, Inc. ("PayPal"), ContextLogic, Inc. (“WISH”) Amazon

        Payments, Inc. (“Amazon”), Alipay US, Inc. and its entities (“Alipay”), Alibaba Group


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        Holding Limited (“Alibaba”), and Heguang International Limited or Dunhuang Group

        d/b/a DHGATE, DHGate.com, DHPORT, DHLINK and DHPAY (“DHGate”), shall,

        within two (2) business days of receipt of this Order, for any Defendant or any of

        Defendants' Online Marketplace Accounts or websites:

         a. Locate all accounts and funds connected to Defendants, Defendants' Online

            Marketplace Accounts or Defendants' websites, including, but not limited to, any

            eBay, PayPal, WISH, Amazon, Alipay, and DHGate accounts connected to the

            information listed in Schedule A hereto or the email addresses identified in

            Exhibit 3 to the Declaration of Frank Padberg; and

          b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based

            from transferring or disposing of any money or other of Defendants' assets until

            further ordered by this Court.

6.      Any banks, savings and loan associations, payment processors, or other financial

        institutions, for any Defendant or any of Defendants' Online Marketplace Accounts or

        websites, shall within two (2) business days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants, or Defendants'

            Online Marketplace Accounts, including, but not limited to, any accounts

            connected to the information listed in Schedule A hereto or the email addresses

            identified in Exhibit 3 to the Declaration of Frank Padberg; and

          b. Restrain and enjoin such accounts from receiving, transferring or disposing of

            any money or other of Defendants' assets until further ordered by this Court.

7.     MERCIS may provide notice of these proceedings to Defendants, including notice of the

        preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by


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        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 3 to the

        Declaration of Frank Padberg and any e-mail addresses provided for Defendants by third

        parties that includes a link to said website. The Clerk of Court is directed to issue a single

        original summons in the name of “L-o-v-e You Store and all other Defendants identified

        in Complaint” that shall apply to all Defendants. The combination of providing notice via

        electronic publication and e-mail, along with any notice that Defendants receive from

        Online Marketplace Accounts and payment processors, shall constitute notice reasonably

        calculated under all circumstances to apprise Defendants of the pendency of the action and

        afford them the opportunity to present their objections.

8.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days' notice to MERCIS or on shorter notice as set by this Court.

9.      The $10,000 bond posted by MERCIS shall remain with the Court until a Final disposition

      of this case or until this Preliminary Injunction is terminated.


Dated: August 28, 2020


                                        _____________________________________
                                        U.S. District Court Judge




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                               SCHEDULE A

           No.                            Defendants
            1     L-o-v-e You Store
            2     Missyou@ Store
            3     jinjin li's store
            4     Tang tradition Gold store
            5     Hangzhou Yueyang E-Commerce Co., Ltd.
            6     Quanzhou Amoy Garments Co., Ltd.
            7     Shijiazhuang Xiameng Apparel Co., Ltd.
            8     Yiwu Fengyao Garment Co., Ltd.
            9     Yiwu Happy Luoka Garments Co., Ltd.
           10     Yiwu Linxi Import & Export Co., Ltd.
           11     natureloveme
           12     Ai Wang Technology
           13     LinXeep
           14     AEOZRING Store
           15     AISTELIK FangHua Store
           16     Amemerio Factory Store
           17     AOOOWUUUU Store
           18     Baby Children Boutique Store
           19     baby home.
           20     Baby Picks
           21     baby-store
           22     BabyWant Store
           23     babzapleume TY store
           24     Boutique Kids&Baby Store
           25     Children HappySky Store
           26     children& baby clothes Store
           27     China Silk Road
           28     Day holiday Store
           29     Dongguan Babytree Garment Co.,Ltd Store
           30     EIJINER Official Store
           31     FansBaby Store
           32     Feier Sleepwear Store
           33     Fiklyc CB Pajamas Store
           34     fly baby Store
           35     GeLe's Store
           36     GG MM Clothes Store
           37     GODODOMAOYI Donal & Co Store
           38     Good luck shopping Store


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            39     hasakid Store
            40     Huzhou Lordaeron Trade Co., Ltd.
            41     IELGY Official Store
            42     Infant children's clothing line
            43     IOLANCY Mother & babies clothes Store
            44     JANER Baby Store
            45     Jess Baby Store
            46     Koi baby Store
            47     laye baby Store
            48     Leben Baby Store
            49     liplify Official Store
            50     lisacmvpnel Official Store
            51     Little fish children's clothes Store
            52     LMMCARE Baby Store
            53     LYun Store
            54     Mikey Baby Store
            55     Mommy & baby Store
            56     Mommy Baby Store
            57     Moms & Baby Store
            58     NATURALNEEDS Official Store
            59     Nine- Store
            60     puckcovi factory Store
            61     QWEEK Official Store
            62     Robe Shop Store
            63     September baby clothes Store
            64     Shop1470537 Store
            65     Shop1725216 Store
            66     Shop1873479 Store
            67     Shop214167 Store
            68     Shop3599010 Store
            69     Shop4670040 Store
            70     Shop4693110 Store
            71     Shop4695052 Store
            72     Shop5381196 Store
            73     Shop5505084 Store
            74     Shop5625275 Store
            75     Shop5636181 Store
            76     Shop5725184 Store
            77     Shop5779113 Store
            78     Shop5877594 Store
            79     Shop5880105 Store


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             80    Shop727490 Store
             81    SJ Baby Officeal Store
             82    Sophia Fancy Mall
             83    Sothoryos Store
             84    SOVELOSA Official Store
             85    SS Costume Store
             86    Su Baby Store
             87    sugar-baby Store
             88    vivikids Store
             89    Wepbel Kade Store
             90    WLG Store
             91    XianBaby Clothes & Pajamas Store
             92    XINXIN BABY Store
             93    Yilaku Official Store
             94    Yunxiang Children's Store
             95    ZOO2 Store
             96    Baby_plan
             97    Baby118
             98    Bofjoy
             99    Chenxuandhgate02
            100    Interhome
            101    Ljwbb2012
            102    KingShark Pro Outdoor Sporte Store
            103    Rattlesnake Ballistic Store
            104    HELLOYOUNG Factory Store
            105    YGS International Trade CO.,LTD.
            106    Bamboo grid child Store
            107    lucky kids
            108    Guangxi Nanning Pengxuan Import And Export Co., Ltd.
            109    Hebei Bailixin Home Textile Co., Ltd.
            110    Huaian Goodlife Textile Co., Ltd.
            111    Ningbo We Rainbow International Trade Co., Limited
            112    Qingdao Wellpaper Industrial Co., Limited
            113    Shijiazhuang Chengrui Trade Co., Ltd.
            114    Yongkang Top Fine Trade Co., Ltd.
            115    AIXUNWEI Store
            116    Aliexpress Drone Store
            117    Bainily Official Store
            118    banhu Store
            119    ChuMu Store
            120    Disneyy Store


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            121    Embellishment Store
            122    Friendship Comes First Store
            123    Fun Tool Store Store
            124    Global Trading E-Commerce Store
            125    Good friend & Department Store
            126    Good lucky is happiness
            127    Green Banana Kids
            128    Homehappy Store
            129    HYBATOLY baby clothes Store
            130    Innovative Life House
            131    Jayce Store
            132    Kennen Store
            133    LDAJMW Official Store
            134    Luck Mommy&Lazy Papa Store
            135    M & Q funny life Store
            136    MamiiBaby Store
            137    microfine Official Store
            138    Mother & Children's Supermarket Store
            139    Mother & Kids Store
            140    Qingsong Store
            141    Quora Store
            142    Rongtinasports Store
            143    RUBYLOVE Store
            144    Ruika Life Store
            145    ruyibebe Store
            146    SENNLLJUNG Official Store
            147    Shen Store
            148    Shop4988207 Store
            149    Shop4988462 Store
            150    Shop5327024 Store
            151    Shop5876368 Store
            152    SUGA Beautiful Life 365
            153    Summitkids Store
            154    Timo Baby Store
            155    Weichu Store
            156    Winstbrok Store
            157    XinZhao Store
            158    0_hk170
            159    Lingxiao Mall
            160    Shenkai Mall
            161    The New Shopping World


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            162    Yangzhou Chaoman Cultural Media Co., Ltd.
            163    Yiwu Manbao Trading Co., Ltd.
            164    katy0347
            165    lichuyun982219
            166    Longline
            167    satuo1997
            168    Suntop Favor Worlds
            169    aitemiD
            170    baojunUS
            171    Chang Zhi Xian Wu Liu Yuan Qu De Yuan Wan Ri Yong
            172    ChangZhiXianWuLiuYuanQuXinLeMeiBaiHuoDian
            173    GAIRUHE
            174    Shan Xi Xin Le Xuan Shang Mao You Xian Gong Si
            175    Zhenyu
            176    AAGBaby Store
            177    Baby Toy World Store
            178    CHINAZHIZHI Store
            179    Comfortable Childhood Store
            180    Dropshipping Toy Store
            181    Gift Toybar 1990 Store
            182    Green-zone Store
            183    Hibabys clotghes Store
            184    Honlaker Store
            185    klucky baby Store
            186    Little Stone Maternity Store Store
            187    Luckily Baby Store
            188    Lvjia Store
            189    Mic Mic
            190    Modern mother Store
            191    Nordic Nursery Decor Store
            192    Romantic Houses
            193    Shop5191018 Store
            194    Shop5432219 Store
            195    sumikkoguraf Store
            196    The world of the mother and baby112233
            197    WeTer Store
            198    Xiamen New Fashion Houseware Co., Ltd.
            199    Yiwu Newcy E-Commerce Co., Ltd.
            200    YJ Trading Store
            201    Yibeauty
            202    M-tuove Store


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            203    Ningbo Tuoyu Trading Company Store
            204    F&G 5 Store
            205    F&G Official Store
            206    Hangzhou Babycat Textile Co., Ltd.
            207    Yuyao L&F Industry Co., Ltd.
            208    LIG37
            209    Ali-Stars textile Store
            210    AQUAS Store
            211    BA DI Tool Store
            212    Boutique Home Textiles Store
            213    caoxiaoyan Store
            214    DUAN FA Outdoor tool factory Store
            215    Enjelwang Boutique Store
            216    GUO'S Store
            217    Hangzhou Mancai Textiles Co., Ltd.
            218    Hi2deals Store
            219    iMajors Hometextiles Store
            220    JaneYU Textile Store
            221    Love & Life Store
            222    My beautiful life Store
            223    Nabi Chinese cloth Store
            224    Parabebe Store
            225    Pumelo tree
            226    QGOCUDB Official Store
            227    quality life 168 Store
            228    Rivers-runsea Store
            229    Saintbo Gifts Store
            230    Shenzhen Haillad International Trade Co., Ltd.
            231    Shop4207025 Store
            232    Shop4662005 Store
            233    Shop5600325 Store
            234    Shop5624076 Store
            235    Simanfei store
            236    TAOQIMAIDOU Store
            237    toys6688 Store
            238    Unbeatable price Store
            239    Warm Embrace Store
            240    WARM YOUR HOUSE Store
            241    WenYunCommerce & Trading Co., Ltd Store
            242    YiCow Store
            243    Zipsoft Official Store


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            244    Cheerful Child Store
            245    JYWL Store
            246    Lover Baby Store
            247    Tesco Baby Store
            248    Dongguan YiKang Plush Toys Co., Ltd.
            249    Shenzhen Fancyli Technology Co., Ltd.
            250    Xiamen Joinste Arts & Crafts Co., Ltd.
            251    Yiwu Zhouting Trade Co., Ltd.
            252    buyhardhk
            253    dym-7484
            254    shyixian_83
            255    Chiche Low's store
            256    Craftoolpty Store
            257    DL plush toy Store
            258    Dongguan Cochily Industrial Co., Ltd.
            259    Enron toy gifts Store
            260    huaer no2 store Store
            261    Huaweida Store
            262    Jiaxing Zhuoli Trading Co., Ltd.
            263    Jinbeili Factory Store
            264    Litu second Store
            265    Luck momanddad Store
            266    Mqfun Blocks Store
            267    Mr,Froger Toy store
            268    Prenoy VIP Store
            269    rainsnow
            270    Shenzhen Sunny FRP Technology Co., Ltd.
            271    yaeryo Store
            272    Yiwu Shincoo Art & Crafts Co., Ltd.
            273    Yoocour Speciality Store
            274    Zhong Tian Le Plush Toys Co., Ltd. Yancheng City
            275    Dropshipping Baby Store
            276    SD Baby Clothes Store
            277    AT Baby Store
            278    Baby Living Museum Store
            279    Baby SHOpping emm Store
            280    Baby Tale Store
            281    Baby teether Store
            282    belle's fashionable store
            283    Froomer Show
            284    Give 'em Light & Dark Store


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            285    hilittlekids Store
            286    How do you do Store
            287    Infinite Baby Store
            288    JT baby products Store
            289    Kidlove Toy Store
            290    Kissing Beibi Store
            291    Mommy n Baby Every nice day Store
            292    muamua baby Store
            293    My Baby World Store
            294    Playing Together Store
            295    Ranavoar Mother&Baby Specialty Store
            296    Shop2345085 Store
            297    Shop5047095 Store
            298    Warm Store
            299    WEIXINBUY Infant Clothes Store
            300    Weixinbuybrand Store
            301    Worldlet Store
            302    YA Chlidren House Store
            303    Shop3658037 Store
            304    Shop3980007 Store
            305    PRZY Int'l Technology Beijing Co., Ltd.
            306    3c-base
            307    home-garden-guru
            308    jamesr0615
            309    jewelry-crown
            310    zta7_53
            311    youyifei
            312    ZooKa
            313    An anime party Store
            314    Aouke Official Store
            315    BeeFun Store
            316    BiubiuPet Store
            317    BKSILICONE Official Store
            318    Catch The Dreams Tail Store
            319    FEB.WIND Baking-Tools Store
            320    Heartmove bakeware Store
            321    Henry-Inc Store
            322    market22 Store
            323    MRF Hongkong Baketool Store
            324    Romantic Homeware Handmade Mold Store
            325    Shop2848039 Store


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            326    SS Mold&Accessories Store
            327    lolitaCos Store
            328    Shop5630112 Store
            329    FLYMAX EXIM
            330    Jiangsu Shong Microfiber Technology Co., Ltd.
            331    Meizhou Wuyou Tea Bag Packing Co., Ltd.
            332    Nanle County Dalin Will Trading Co., Ltd.
            333    Shanghai Weixiang Industry Co., Ltd.
            334    Shenzhen Guangfeng Industry Co., Ltd.
            335    Shenzhen Longgang Yisi Bags Factory
            336    Shenzhen Wanver Inovation Technology Co., Ltd.
            337    Xiamen Afht Bag Manufacturing Co., Ltd.
            338    Yiwu Dongyi Trade Co., Ltd.
            339    Yiwu kwete trading group Co., Ltd.
            340    Yiwu Vion Import & Export Co., Ltd.
            341    winwinbb
            342    xook2147
            343    40w4zmlr
            344    Heopono Bag Store
            345    OLOEY3258822 Store
            346    package Store
            347    Shaco Store
            348    Skarner Store
            349    Zhejiang Winchoice Imp./Exp. Co., Ltd.
            350    Shop5155029 Store
            351    Y+ENOUGH Store
            352    happymall2013
            353    ALLBLUE - Official Store
            354    ALMUDENA Official Store
            355    APLST Art City Store
            356    Art Gallery Co. Store
            357    BAIEES Store
            358    E-Decor Painting Store
            359    JESC JescomArt Store
            360    Joom Art Store
            361    LADIY FIRST Store
            362    Leading Tenphy Official Store
            363    Lovy Store
            364    LUOVIZEM Official Store
            365    MagicLife Store
            366    MERRYPRETTY Printings Store


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            367    MYCELLA Official Store
            368    NDITB Official Store
            369    Painted Lover Store
            370    ZENGVEE Flagship Store - for Men
            371    all_4_you_store
            372    dreamflying19
            373    Bosster2018
            374    fashion-store000
            375    liuxuzhaoxiahong
            376    Myhomeshopping
            377    shop market itnertional
            378    niu yan qiang shop
            379    Pro-sex life
            380    TWSM
            381    White lady
            382    A big-dream Store
            383    Linhai Huasen Decorative Lighting Co., Ltd.
            384    Shenzhen Awesome Technology Co., Ltd.
            385    Shop4420162 Store
            386    Joe_yang
            387    Maxi
            388    Yiwu Meitian Craft Co., Ltd.
            389    Bize Jewellry Store
            390    BlingKeychain Store
            391    Character model Store
            392    Fashion Jewelry Crystal Keychain
            393    Iyanla's Jewelry Store
            394    Keychain Factory Store
            395    Shop5113099 Store
            396    Shop5380163 Store
            397    Wenzhou Junjun Arts & Crafts Co., Ltd.
            398    XDPQQ II Store
            399    XDPQQ speciality Store
            400    XIAOYE Factory's Branch Store
            401    Yiwu Kingstar Store
            402    Yiwu Summer Arts & Crafts Co., Ltd.
            403    Dongguan Hy-Max Metal & Plastic Products Co., Ltd.
            404    ohmydear385
            405    GODHAGU
            406    Viasaid
            407    123456789shop Store


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            408    Desxz Smartwatch Store
            409    Localvogue
            410    Shop4076015 Store
            411    Shop5394030 Store
            412    Shop5781112 Store
            413    Shop5789937 Store
            414    VTOPA Store
            415    Wholesale Service
            416    Aliexpress
            417    kingfull-electronic-company
            418    victorywo
            419    Babywell Store
            420    Xps wolrd Store
            421    Love and Warmness
            422    Satpiggy Store
            423    dqbaby
            424    princesslife
            425    whqianchen
            426    ChenFa Store
            427    SHbaby Store
            428    Small stinky baby Store
            429    Jiayouya
            430    style-angel
            431    wookyminy
            432    Jeansames Store
            433    Shop4509060 Store
            434    Shop5374146 Store
            435    Shop5480110 Store
            436    Walk into Life Store
            437    wanmeijiafa Store
            438    XIZOU Store
            439    Quanzhou Kingfung Aroma Crafts Co., Ltd.
            440    yinuoweierfushi
            441    (Supermarket)1314 Store
            442    Greencar automobile Store
            443    Huabang Automobile Products Store
            444    Shop3907054 Store
            445    Shop4956005 Store
            446    Kunshan Blythe Trading Co., Ltd.
            447    Zhongshan Artigifts Premium Metal & Plastic Co., Ltd.
            448    gift1225 Store


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            449    Kollogg AliExpress Store
            450    LI LI boutique Store
            451    Struggle A Store
            452    Emerald Forest Store
            453    Fengxing Store
            454    Dehua Deek Ceramic Co., Limited
            455    Dongguan Shengfengyu Industrial Co., Ltd.
            456    Dongguan Teshun Group Co., Ltd.
            457    Dongguan Yopet Gift Industrial Co., Ltd.
            458    Ningbo Wellking Imp. & Exp. Co., Ltd.
            459    Shanghai Yucai AD Manufacturer Co., Ltd.
            460    Shenzhen Runxing Printing Limited
            461    Yantai Modern Inflatable Co., Ltd.
            462    Yiwu Yachu Daily Commodity Co., Ltd.
            463    luckyteam
            464    RUKI
            465    TOP AND BEST SELECTIONS
            466    Floresta11
            467    SZUS
            468    ZoeParty
            469    Ameng Store
            470    Angel Baby's House
            471    Anna at Store
            472    Aquarium ornament Store
            473    BaLaBaLa Clothing Accessories Store
            474    Bill Ma Store
            475    BODYWHY Crossdressing Store
            476    BOYUTE Official Store
            477    Brmarne bag Store
            478    China Cute Gift Store
            479    DIY Supplies House
            480    E & F Ribbon & Motifs Co.,Ltd.
            481    good mascot Store
            482    HappyGoing Store
            483    kawaii Party Gift Store
            484    L & X COLLECTIONS WHOLESALE STORE
            485    Linyi Hexing Import And Export Co., Ltd.
            486    Love Daisies fabrics Store
            487    Magicals Store
            488    Mr. Qiu Pets Products Store
            489    Party Sunny


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            490    PG Wonderland Store
            491    Princess Headwear Store
            492    Progenitora & Criancas Jouet Store
            493    Shenzhen Yongfeng Ceramics Co., Ltd.
            494    shop09201996 Store
            495    Shop5005192 Store
            496    Shop5028194 Store
            497    Shop5135030 Store
            498    Shop5496102 Store
            499    Shyvana Store
            500    Softy Lofty
            501    Super Mummy Store
            502    Vanessa Store
            503    VDSM Beautyful Store
            504    Wens Store
            505    YIYI PACK Store
            506    mixed




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